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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES CONFERENCE OF
 CATHOLIC BISHOPS,

                       Plaintiff,
                                                     Case No. 1:25-cv-00465 (TNM)
                       v.

 U.S. DEPARTMENT OF STATE, et al.

                       Defendants.


                                    MEMORANDUM ORDER

       The U.S. Conference of Catholic Bishops seeks an emergency preliminary injunction

preventing the Government from pausing or canceling contracts between them. These contracts

require the Government to fund the Conference’s provision of resettlement services to refugees.

       But this Court cannot offer the requested relief. The Conference’s motion is, at its core,

seeking a purely contractual remedy. And the Tucker Act instructs that all contract disputes with

the Government must be resolved by the Court of Federal Claims. More, the Conference’s

desired remedy is inconsistent with equitable remedies like injunctions. The Court thus denies

the Conference’s motion.

                                                I.

       For over 60 years, the Government has aided refugees. This mission started in the thick

of the Cold War, when Congress appropriated funds to address “urgent refugee and migration

needs” in response to individuals fleeing communist countries. Migration and Refugee

Assistance Act of 1962, 22 U.S.C. § 2601(c). Later, Congress would enact the Refugee Act of

1980, which created a formal framework for the admission and resettlement of refugees. Pub. L.

No. 96-212, 94 Stat. 102 (codified at 8 U.S.C. § 1522). This initiative, called the U.S. Refugee
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Admissions Program, created “a permanent and systematic procedure for the admission to this

country of refugees of special humanitarian concern to the United States, and to provide

comprehensive and uniform provisions for the effective resettlement and absorption of those

refugees who are admitted.” Pub. L. No. 96-212, § 101(b), 94 Stat. 102.

        So refugees who have been persecuted or fear persecution abroad can seek legal

admission into the United States through this program. See 8 U.S.C. §§ 1101(a)(42), 1157(c).

But there is no rubber stamp for admissions. At the meta-level, the President sets a cap on the

maximum number of refugees who can be admitted annually. 8 U.S.C. §§ 1157 (a)(2),

1157(c)(1), 1181(c). And on the ground, an extensive vetting process takes place. Applicants

are rigorously screened in their home countries for eligibility. Before they can be admitted to the

United States, they must undergo detailed interviews, medical examinations, and biometric

assessments, among other checks. Am. Compl, ECF No. 29, ¶ 30.

        If admitted, refugees assimilating to their new homes are then offered aid under various

provisions of the Refugee Assistance Program. Though this enterprise is multifaceted, at issue

here is the “[p]rogram of initial resettlement.” 8 U.S.C. § 1522(b).

        This program envisions a public-private partnership between the Department of State and

nonprofit organizations. 1 8 U.S.C. §1522(b)(1)(A). State’s Bureau of Population, Refugees, and

Migration (“PRM”) is “authorized” to enter into annual cooperative agreements with private

resettlement agencies whose mission it is to aid refugees in their critical first weeks in the United

States. 8 U.S.C. §1522(b)(1)(A)(ii); Am. Compl. ¶ 33; see also Decl. A. Zerbinopoulos, ECF




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  Although the statute authorizes the Director of the Office of Refugee Resettlement at the Department of Health and
Human Services to carry out the initial resettlement program, the Director’s statutory obligations for initial
resettlement have been transferred by presidential designation to the Secretary of State under Section 1522(b)(1)(B)
and delegated to Bureau of Population, Refugees, and Migration. Mot. TRO, ECF No. 5-2, at 6 n.1; see also HIAS,
Inc. v. Trump, 985 F.3d 309, 316 n.2, 319 n.5 (4th Cir. 2021).


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No. 25-1, at ¶ 11 (explaining that initial resettlement funding is provided to a refugee for 30 to 90

days). Under the cooperative agreements, PRM awards specific sums to each resettlement

agency to reimburse the agency for expenses it incurs supporting the refugees during those initial

weeks. Am. Compl. ¶ 33; Decl. A. Zerbinopoulos ¶ 9. This funding covers essential services

such as transportation from the airport, housing, food, and clothing. Am. Compl. ¶ 33; §

1522(a)(1), (b)(1)(A), (b)(7); Decl. A. Zerbinopoulos ¶ 10. It also helps get refugees access to

social, medical, educational, and employment services. Am. Compl. ¶ 33; § 1522(a)(1),

(b)(1)(A), (b)(7); Decl. A. Zerbinopoulos ¶ 10. The support given in the first three months is

essential, as “[l]ost opportunities for English and job training in the earliest days of resettlement

often can’t be made up for later.” Decl. W. Canny, ECF No. 5-3, ¶ 22.

       The Conference is one of ten resettlement agencies receiving funding under the program.

Am. Compl. ¶ 33. For the Conference, helping refugees is no minor avocation. Its participation

in the Refugee Admissions Program reflects the Catholic Church’s longstanding commitment to

migrants and refugees. Am. Compl. ¶ 25 (citing Pope Pius XII, Apostolic Constitution, Exsul

Familia Nazarethana (1952)). This commitment honors the Holy Family’s refugee status during

their flight to Egypt. See Amend. Compl. ¶ 25; Matthew 2:13–16. In line with this mission, the

Conference has partnered with the federal government for over 40 years to provide initial

resettlement services to refugees. Am. Compl. ¶ 40. And today, the Conference runs the largest

non-governmental resettlement program in the country, serving roughly 17% of resettling

refugees. Am. Compl. ¶ 41.

       For Fiscal Year 2025, the Conference entered into two cooperative agreements with PRM

awarding the Conference about $65 million for initial resettlement. Am. Compl. ¶ 43;

Cooperative Agreement 1, ECF No. 5-4; Cooperative Agreement 2, ECF No. 5-5. One of these




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agreements covers refugees and awards around $43 million in funding, while the other covers

special immigrant visa holders from Afghanistan (i.e., those who assisted the U.S. mission in

Afghanistan and fear retaliation) and awards around $22 million in funding. Am. Compl. ¶¶ 32,

43; Cooperative Agreement 1 at 2, 4; Cooperative Agreement 2 at 2, 4. In all other relevant

respects, the cooperation agreements are identical. Both contracts run from October 1, 2024, to

September 30, 2025. Am. Compl. ¶ 43; Cooperative Agreement 1 at 2; Cooperative Agreement

2 at 2.

          At least, they were meant to. But their continuing viability was cast into doubt beginning

on January 20, 2025. That afternoon, President Trump signed an executive order titled

“Reevaluating and Realigning United States Foreign Aid.” Exec. Order No. 14,169, 90 Fed.

Reg. 8619 (Jan 20, 2025). The Foreign Aid Order directed relevant executive branch officials to

institute a “90-day pause in United States foreign development assistance” pending review of the

programs’ alignment with Administration priorities. Id. § 3(a). The same day, the President

suspended the entry of most new refugees into the United States. See Exec. Order No. 14,163,

90 Fed. Reg. 8459 (Jan. 20, 2025).

          Shortly afterward, Secretary of State Marco Rubio issued his own directive: “[c]onsistent

with” the Foreign Aid Order, “all new obligations of funding . . . for foreign assistance programs

funded by or through the Department and USAID” would be paused “pending a review.” Mem.

from Sec’y of State to All Diplomatic and Consular Posts, 25 State 6828 (Jan. 24, 2025),

https://perma.cc/J26T-VCJR (“Rubio Memo”). Later that day, PRM purported to comply. It

sent a suspension letter to the Conference that “immediately suspended” funds under the

Conference’s cooperative agreements “pending a Department-wide review of foreign assistance

programs.” PRM Suspension Letter, ECF No. 29-5. The suspension letter ordered the




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Conference to “stop all work under the award(s) and not incur any new costs” after January 24.

Id. The suspension letter reasoned that the pause in funding was “[c]onsistent with the

President’s Executive Order” and noted that the award to the Conference “may no longer

effectuate agency priorities.” Id.

         But the Conference had millions of dollars in requested reimbursements pending with

State. Mot. TRO, ECF No. 5-2, at 12. And more, without ongoing funding, the thousands of

refugees already in its care would soon lack support. Id. The Conference filed suit and promptly

sought a temporary restraining order (“TRO”) and preliminary injunction. 2 Compl., ECF No. 1;

Mot. TRO. Days later, this Court held an oral hearing on those motions. Minute Entry,

2/20/2025. It denied the request for the TRO, finding that the Conference had failed to meet its

burden of irreparable harm “for such an exigent, [] extraordinary remedy.” Tr. Mots. Hearing,

ECF No. 21, at 48:16–17. But the Court stressed that it was not making any “conclusive ruling”

as to the request for preliminary injunction. Id. at 48:18. The Court thus issued an expedited

briefing schedule and set a follow-up hearing for the preliminary injunction a week later. Id. at

52–53.

         Just days before that hearing, the State Department doubled down. On February 26, State

issued two formal notices of termination to the Conference, canceling the cooperative

agreements between the Conference and PRM. Am. Compl. ¶ 56; Termination Letters, ECF No.

27. The justification behind the termination was simple: the agreements “no longer effectuate[d]

agency priorities.” Termination Letters at 4–5. PRM thus terminated the awards “in accordance




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  Defendants include the Department of State, Secretary Rubio, PRM, and the Assistant Secretary of PRM. Compl.
at 1. The Conference also named the Department of Health and Human Services and Secretary Robert F. Kennedy
(collectively, the “Government”) as defendants “out of an abundance of caution,” because 8 U.S.C. § 1522(a)
obligates the Director of the Office of Refugee Resettlement at the Department of Health and Human Service to
carry out certain refugee programs. Compl. at 12 n.2; Mot. TRO at 6 n.1.


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with the U.S. Department of State Standard Terms and Conditions, 2 C.F.R. 200.340, and/or

Award Provisions as applicable.” Id. This was based on federal regulations, incorporated into

the cooperative agreements, that permit termination “to the greatest extent authorized by law” if

an award “no longer effectuates the program goals or agency priorities.” See Cooperative

Agreement 1 at 81; Cooperative Agreement 2 at 84; 2 C.F.R. § 200.340(a)(4). The Conference

was therefore ordered to “stop all work on the program” and refrain from “incur[ring] any new

costs,” effective immediately. Termination Letters at 4–5.

       The Court asked for updated briefing to explain the legal salience of a termination as

opposed to a suspension. See Minute Entry 2/28/2025. That briefing has since been submitted.

In its amended motion for a preliminary injunction, the Conference urges that it is still likely to

succeed on the merits of its claims. It argues that the termination is contrary to various federal

laws, including the Refugee Act of 1980 and the Impoundment Control Act. Am. Mot. Prelim.

Inj., ECF No. 30-2, at 4–8. It also insists that the sudden termination was arbitrary and

capricious, in violation of the Administrative Procedure Act. Id. at 8–9. More, the Conference

stresses that it meets all the other necessary requirements to earn preliminary relief—that it will

suffer irreparable injury without Court intervention, and that the public interest favors relief. Id.

at 9–10. So the Conference asks that the Court “enjoin[]” Defendants “from implementing,

enforcing, or otherwise giving effect to any rule, order, policy, or other agency action

suspending, freezing, pausing, or otherwise preventing the obligation or disbursement of

appropriated funds to provide refugee resettlement services.” Prop. Order, ECF No. 30-1, at 1.

       The Government urges mainly that this Court lacks jurisdiction over this action. It insists

that the Tucker Act directs all contract disputes with the federal government to the Court of

Federal Claims. Suppl. Opp’n, ECF No. 35, at 1. According to the Government, the “sole basis”




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for the Conference’s motion “is grounded in the Cooperative Agreements,” and thus district

courts are divested of authority to decide it. Id. But even if this Court did have jurisdiction, says

the Government, the Conference’s challenge would still be fruitless, as the termination decision

was neither contrary to law nor was it arbitrary and capricious. Id. at 4–10. Finally, the

Government insists that Conference is neither suffering irreparable harm nor enjoys the favor of

equities and the public interest. Id. at 11.

                                                  II.

        A preliminary injunction is “an extraordinary and drastic remedy” that is “never awarded

as of right.” Munaf v. Geren, 553 U.S. 674, 689–90 (2008) (cleaned up). The movant faces a

high bar for success, as it must demonstrate four elements “by a clear showing”: (1) that it is

likely to succeed on the merits; (2) that it likely suffer irreparable harm in the absence of

injunctive relief; (3) that the balance of equities weighs in favor of granting the relief; and (4)

that the public interest favors the injunction. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7,

20 (2008). Where, as here, the Government is the party opposing injunctive relief, the latter two

factors “merge.” Nken v. Holder, 556 U.S. 418, 435 (2009).

        Finally, the burden is on the movant to demonstrate that the Court has the authority to

issue the emergency relief it seeks. Greater New Orleans Fair Hous. Action Ctr. v. U.S. Dep’t of

Hous. & Urb. Dev., 723 F. Supp. 2d 1, 11 (D.D.C. 2010), aff’d, 639 F.3d 1078 (D.C. Cir. 2011).

Like the concept of Article III standing, the party invoking a federal court’s jurisdiction has the

burden of proving it. Cf. Env’tl Working Grp. v. U.S. Food and Drug Admin., 301 F. Supp. 3d

165, 170 (D.D.C. 2018). Federal courts start from the presumption that they lack such

jurisdiction.




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                                                       III.

        The Conference is unlikely to prevail on the merits because this Court lacks the authority

to grant the relief it seeks. The requested injunctive relief is incompatible with the Government’s

sovereign immunity.

        Start with the basics. A plaintiff requesting emergency relief against the Government

“must identify an unequivocal waiver of sovereign immunity.” Franklin-Mason v. Mabus, 742

F.3d 1051, 1054 (D.C. Cir. 2014). The Conference points to § 702 of the Administrative

Procedure Act (“APA”) as providing that waiver. Am. Mot. Prelim. Inj. at 1–2. But § 702’s

waiver comes with a catch—it “does not apply if any other statute that grants consent to suit

expressly or impliedly forbids the relief which is sought.” Perry Cap. LLC v. Mnuchin, 864 F.3d

591, 618 (D.C. Cir. 2017) (cleaned up) (quoting 5 U.S.C. § 702). 3

        The Government argues that the Tucker Act “impliedly forbids” the APA’s sovereign

immunity waiver. Suppl. Opp’n at 1–4. The Tucker Act grants the Court of Federal Claims

exclusive jurisdiction over certain suits against the Government, including those “founded . . .

upon” any “contract with the United States.” 4 28 U.S.C. § 1491(a)(1); see also Transohio Sav.

Bank v. Dir., Off. of Thrift Supervision, 967 F.2d 598, 609 (D.C. Cir. 1992) (“[T]his Court and

others have interpreted the Tucker Act as providing the exclusive remedy for contract claims

against the government.”). Thus, if the present motion is grounded in contract, the APA does not




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 The APA also excludes from its waiver of sovereign immunity claims for money damages, 5 U.S.C. § 702, and
claims for which an adequate remedy is available elsewhere, 5 U.S.C. § 704. Because the Court concludes that the
Tucker Act impliedly precludes the APA’s waiver of sovereign immunity, it need not decide whether these other
exclusions apply.
4
  The amount in controversy must also be at least $10,000 for Tucker Act jurisdiction. Crowley Gov’t Servs., Inc. v.
Gen. Servs. Admin., 38 F.4th 1099, 1106 (D.C. Cir. 2022). That requirement is easily met, as the Conference alleges
it has “millions of dollars in pending, unpaid reimbursements.” Am. Compl. ¶ 7.


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waive the Government’s immunity from suit, and the district court cannot afford the requested

relief.

          But determining whether a dispute is “at its essence” contractual is not always simple.

Megapulse, Inc. v. Lewis, 672 F.2d 959, 967 (D.C. Cir. 1982); see also Transohio, 967 F.2d at

609 (“The issue is more complicated than the agencies let on.”). On the one hand, a mere cameo

by a contract in a suit that is otherwise based on federal law is not enough to kick the case to

Claims Court. See Megapulse, 672 F.2d at 968 (“[T]he mere fact that a court may have to rule

on a contract issue does not, by triggering some mystical metamorphosis, automatically

transform an action . . . into one [based] on the contract and deprive the court of jurisdiction it

might otherwise have.”). Even if a dispute implicates a contract, it may be heard in district court

if it still “stem[s] from a statute or the Constitution.” Transohio, 967 F.2d at 609. On the other

hand, courts are to be wary of plaintiffs artfully pleading their way around the jurisdictional

strictures of the Tucker Act. Crowley Gov’t Servs., Inc. v. Gen. Servs. Admin., 38 F.4th 1099,

1107 (D.C. Cir. 2022) (“[W]e have cautioned plaintiffs that this court prohibits the creative

drafting of complaints . . . to avoid the jurisdictional consequences of the Tucker Act.”) (cleaned

up).

          Resolving the ultimate inquiry of whether a claim is “essentially a contract action” turns

on two key considerations: “The source of the rights upon which the plaintiff bases its claims”

and “the type of relief sought.” Albrecht v. Comm. on Emp. Benefits of Fed. Rsrv. Emp. Benefits

Sys., 357 F.3d 62, 68 (D.C. Cir. 2004) (quoting Megapulse, 672 F.2d at 968).

           The latter factor is dispositive here. The nature of relief the Conference seeks “sounds in

contract.” Id. at 68. It asks the Court to “enjoin[]” the Government

              “from implementing, enforcing, or otherwise giving effect to any rule . . .
              preventing the obligation or disbursement of appropriated funds to



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            provide refugee resettlement services, including by . . . implementing,
            enforcing, or otherwise giving effect to the February 26, 2025,
            termination letter issued by the State Department to USCCB; or issuing
            or reissuing any other letters or taking any other actions that have a
            materially similar effect.”

       Prop. Order at 1.

       Stripped of its equitable flair, the requested relief seeks one thing: The Conference wants

the Court to order the Government to stop withholding the money due under the Cooperative

Agreements. In even plainer English: The Conference wants the Government to keep paying

up. Thus the Conference “seeks the classic contractual remedy of specific performance.”

Spectrum Leasing Corp. v. United States, 764 F.2d 891, 894 (D.C. Cir. 1985). But this Court

cannot order the Government to pay money due on a contract. Id. Such a request for an order

that the government “must perform” on its contract is one that “must be resolved by the Claims

Court.” Ingersoll-Rand Co. v. United States, 780 F.2d 74, 80 (D.C. Cir. 1985); see also Bowen

v. Massachusetts, 487 U.S. 879, 921 (1988) (Scalia, J., dissenting) (“It is settled that sovereign

immunity bars a suit against the United States for specific performance of a contract.”).

       Indeed, the Supreme Court has stressed that “an injunction to compel the payment of

money past due under a contract . . . was not typically available in equity”—meaning an

injunction is the wrong vehicle to recoup withheld funds. Great-West Life & Annuity Ins. Co. v.

Knudson, 534 U.S. 204, 210–11 (2002). The more appropriate remedy “for an agency’s

recalcitrant failure to pay out may be to ‘seek specific sums already calculated’ and ‘past due’ in

the Court of Federal Claims.” Dept. of State v. AIDS Vaccine Advoc. Coal., 604 U.S. ---, 2025

WL 698083, at *3 (2025) (mem.) (Alito J., dissenting) (quoting Maine Cmty. Health Options v.

United States, 590 U.S. 296, 327 (2020)). The awkward fit between the relief requested and the

medium employed here only underscores the inescapable truth: The Conference seeks an award




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of money due, which a court sitting in equity may not grant. See Knudson, 534 U.S. at 210 n.1

(“[A]ny claim for legal relief can, with lawyerly inventiveness, be phrased in terms of an

injunction.”).

       The Court is guided by the D.C. Circuit’s opinions in Spectrum and Ingersoll-Rand. In

Spectrum, the plaintiff was a party to a contract with the General Services Administration

(“GSA”). Spectrum Leasing Corp., 764 F.2d at 892. There, as here, the plaintiff sued in the

district court after the GSA stopped paying the plaintiff’s invoices, allegedly in violation of the

Debt Collection Act. Id. The plaintiff sought “an injunction compelling the GSA to cease

withholding . . . payments due under the contract.” Id. The district court dismissed the case for

want of subject matter jurisdiction, and the Circuit affirmed. Id. at 895. In affirming, the court

stressed that plaintiff, at bottom, was pursuing a “typical contract remedy,” as it was merely

trying to get what it was promised under the agreement. Id. at 895. Thus the case fell within the

Claims Court’s exclusive jurisdiction. Id.

       Similarly, in Ingersoll-Rand, the plaintiff alleged that the Air Force’s decision to

terminate its contract for convenience reasons was arbitrary and capricious. 780 F.2d at 75. The

court found jurisdiction could not lie in the district court because the suit was inherently

contractual. Id. at 80. As here, the plaintiff in Ingersoll-Rand sought a declaration that the

contract termination was unlawful and an injunction requiring the Air Force to undo its

termination of the contract. Id. at 79–80. The court acknowledged that the complaint nominally

sought “only a declaratory and injunctive order.” Id. at 79. Still, such semantics were




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insufficient to establish district court jurisdiction because “the essence” of the claim was “a

request for specific performance of the original contract.” 5 Id. at 79–80.

         The Court squints in vain to see any daylight. Like those plaintiffs, the Conference asks

the Court to order the Government to cancel the termination, pay money due, and reinstate the

contracts. That is something this Court lacks the power to do.

         Crowley does not counsel otherwise. There, a plaintiff with a military contract

challenged the GSA’s authority to audit and unilaterally reduce future payments under the

contract. Crowley, 38 F.4th at 1103 & n.4. Though GSA’s independent audits and payment

offsets affected the plaintiff’s ability to get paid under the contract, the relief sought was not

contractual. See id. at 1111–12, 1113. Critically, the plaintiff had no contractual relationship

with GSA itself, so any remedy afforded against GSA could neither be construed as damages nor

specific performance. Id. at 1110. So rather than seeking monetary relief under a contract, the

plaintiff sought “prospective relief from the GSA’s audits.” Id. at 1112. Thus Crowley stands in

contradistinction to the present case, where the Conference asks the Court to order the

Government to honor its contractual obligations. Cf. id. at 1108 (“As all agree, the GSA owes no




5
  To be sure, Knudson and Justice Alito’s dissent in AIDS Vaccine Advocacy Coalition suggest that payment for
money past due under a government contract cannot be classified as an equitable remedy for specific performance,
potentially calling some of the reasoning in Spectrum into doubt. See Knudson, 534 U.S. at 210–12; AIDS Vaccine
Advocacy Coal., 2025 WL 698083, at *2-3 (Alito J., dissenting). But these cases do not undermine the Court’s
bottom line. To start, the Conference does not merely seek repayment of contractual sums past due. It also seeks a
preliminary injunction reinstating an ongoing financial relationship between itself and the Government, as thousands
of refugees remain in the initial resettlement period in the Conference’s care. In other words, the Conference not
only wants to be reimbursed for costs sustained, as in Spectrum, but wants an order compelling the Government to
reimburse the Conference for costs sustained in the future, as in Ingersoll-Rand. Knudson and Justice Alito’s dissent
in AIDS Vaccine Advocacy Coalition only speak to costs previously due. Thus Ingersoll-Rand remains on all-fours
with this case. More, Knudson and Justice Alito’s dissent also suggest that a district court would lack jurisdiction to
issue an order compelling payment of sums past due, but they paint this rule as grounded in the APA’s exclusion
from its waiver of sovereign immunity suits seeking monetary damages. So even if these opinions endorse a change
to the framework for money previously due, this Court still cannot offer the relief requested.


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duty to Crowley under the Contract . . . . And Crowley did not seek in district court an order

compelling the GSA to perform or fulfill any obligations to Crowley created by the contract.”).

       Indeed, another court in this district recently rejected a similar request from plaintiffs

seeking to revive terminated government contracts. See AIDS Vaccine Advoc. Coal., et al. v.

Dept. of State, et al., No. 25-cv-00400, 2025 WL 752378, at *23 (D.D.C. Mar. 10, 2025). In

AIDS Vaccine Advocacy Coalition, a group of plaintiffs challenged the Executive’s withholding

of appropriated foreign aid funding and subsequent termination of their contracts. See id. at *6–

7, *23. Just like the Conference, those plaintiffs asked for a preliminary injunction that would, in

effect, order the Government “to continue to contract with them.” Id. at *23. But the court

recognized that while the Executive has an obligation to spend appropriated funds, “laws have

traditionally afforded the Executive discretion on how to spend” that money. Id. (emphasis

added). As a result, the court could not order the Government to revive specific contracts. Id.

So too here. The relief the Conference seeks in its preliminary injunction—reinstatement of

contracts terminated by the Government—is beyond the power of this Court.

       The Conference resists this conclusion. But in its artful efforts to dodge the inevitable,

the Conference falls prey to precisely the sort of “creative drafting” that Crowley warns against.

38 F.4th at 1107. It insists that it merely seeks the “classic equitable remedies available in an

administrative law action”—an order “holding unlawful and setting aside agency action.” Am.

Mot. Prelim. Inj. at 3 (cleaned up). In other words, the Conference frames its motion as pursuing

typical equitable relief under the APA. But accepting such an argument would be to distort the

obvious. Sure, the Conference seeks to set aside agency action. But the agency action that it

asks the Court to reverse is the Government’s decision to cease a financial relationship with the

Conference. This is not standard injunctive fare. Cf. Knudson, 534 U.S. at 211 (“[A]n injunction




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to compel the payment of money past due under a contract . . . was not typically available in

equity.”); see also Sharp v. Weinberger, 798 F.2d 1521, 1524 (D.C. Cir. 1986) (Scalia, J.) (“We

know of no case in which a court has asserted jurisdiction . . . to issue an injunction compelling

the United States to fulfill its contractual obligations.”). Instead, it is a request that the Court

order the Government “to pay money owed . . . under an executory contract.” Spectrum, 764

F.2d at 894; see also Am. Mot. Prelim. Inj. at 4 (describing “the relief most important to [the

Conference]” as “specific performance” in addition to “prospective relief.”). This request is

“founded upon a contract for purposes of the Tucker Act.” Spectrum, 764 F.2d at 895. It thus

must be heard in Claims Court. 6

                                                     *    *     *

         In short, the Conference alleges that, over the last several weeks, the Government paused

and then reneged on its contracts. At issue here is not whether the Government had the right to

do so, much less whether the Government was right to do so. No, the question is far narrower:

Whether this Court has the authority to afford the “drastic” emergency relief that the Conference

seeks. F.T.C. v. Exxon Corp., 636 F.2d 1336, 1343 (D.C. Cir. 1980). It does not.

         In reaching this conclusion, the Court makes no finding on its jurisdiction over the

underlying Complaint. There is no motion to dismiss presently before the Court that would call



6
  The D.C. Circuit has suggested that the Claims Court can offer this type of relief. See Spectrum, 764 F.2d at 895
n.7 (“The Claims Court . . . ordinarily lacks the authority to grant specific performance of contracts as well as other
forms of equitable relief. We note, however, that in limited circumstances the Claims Court when exercising Tucker
Act jurisdiction may be empowered to grant such equitable relief where the relief sought is in the form of money.”);
but see Bowen, 487 U.S. at 920–21 (Scalia, J., dissenting) (noting that the Claims Court lacks authority to grant
specific performance). Regardless of the precise remedial powers of the Claims Court, the Circuit signaled that
government contractors seeking specific performance must go there, even if the contractor will be limited to a
damages remedy. Ingersoll-Rand Co., 780 F.2d at 80 (noting that the plaintiff “would prefer to avoid becoming
subject to the jurisdiction of the Claims Court because there its remedies could not include specific performance,”
but stressing that the plaintiff could not “avoid[] this remedy restriction” and must have its complaint “resolved by
the Claims Court.”). After all, Congress designed the APA so that it would “not change existing limitations on
specific relief . . . derived from statutes dealing with such matters as government contracts.” H.R. Rep. 94-1656, at
13 (1976), as reprinted in 1976 U.S.C.C.A.N. 6121, 6133.


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for an assessment of jurisdiction writ large. Instead, the Court holds simply that it “cannot find

that [the Conference] [is] likely to succeed on the merits” of its motion because the court “has no

authority to remedy [the alleged violations] in the way plaintiff[] ask[s].” Greater New Orleans

Fair Hous. Action Ctr., 723 F. Supp. 2d at 10. This conclusion may not flow to the Complaint

itself. The nature of relief sought in the Complaint is notably different than that sought in the

present motion, and those distinctions may well matter for jurisdictional purposes. Compare

Amend. Compl. 40–41 with Prop. Order at 1; see also Sharp, 798 F.2d at 1523 (dividing up

claims and prayer for relief to determine jurisdiction over each). At any rate, whether the

Complaint requests relief that sounds not in contract but in the proper jurisdiction of a district

court, this decision leaves for another day.

       This Court wields “only that power authorized by Constitution and statute . . . which is

not to be expanded by judicial decree.” Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S.

375, 377 (1994). “[T]o allow suit against the United States under the APA in actions actually

based on contract would create such inroads into the restrictions of the Tucker Act that it would

ultimately result in the demise of the Court of Claims”—and, accordingly, an abrogation of

congressional prerogative and will. Megapulse, 672 F.2d at 967. This Court is but a creature of

the trifurcated structure of its Constitution. It is perhaps when emotions are at their zenith that

the imperative to police jurisdictional bounds carries the most importance.




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                                                IV.

       In sum, the Conference cannot succeed on the merits of its claims because the Court lacks

jurisdiction over the relief the Conference seeks in its preliminary injunction. Its motion for a

preliminary injunction is thus DENIED.

       SO ORDERED.

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Dated: March 11, 2025                                 TREVOR N. McFADDEN, U.S.D.J.




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